                                1     BERMAN AND TODDERUD LLP
                                      Stan Berman
                                2     Eric Todderud
                                      3502 Fremont Ave. N., Suite 2
                                3     Seattle, WA 98103
                                      (206) 279-3272
                                4     Special Counsel for Debtors and Debtors in Possession
                                5
                                                                UNITED STATES BANKRUPTCY COURT
                                6                               NORTHERN DISTRICT OF CALIFORNIA
                                                                     SAN FRANCISCO DIVISION
                                7

                                8      In re:                                            Bankruptcy Case No. 19-30088 (DM)
                                9      PG&E CORPORATION,                                 Chapter 11
                                10      - and –                                          (Lead Case)
                                11     PACIFIC GAS AND ELECTRIC                          (Jointly Administered)
                                       COMPANY,
3502 Fremont Ave. N., Suite 2




                                12                                                       MONTHLY FEE STATEMENT OF
 Berman and Todderud LLP




                                         Debtors.                                        BERMAN AND TODDERUD FOR
     Seattle, WA 98103




                                13                                                       ALLOWANCE AND PAYMENT OF
                                        Affects PG&E Corporation                        COMPENSATION AND
                                14      Affects Pacific Gas and Electric Company        REIMBURSEMENT OF EXPENSES FOR
                                        Affects both Debtors                            THE PERIOD OF DECEMBER 1, 2019
                                15                                                       THROUGH DECEMBER 31, 2019
                                       * All papers shall be filed in the Lead Case
                                16     No. 19-30088 (DM).                                Objection Deadline: February 21, 2020
                                                                                         4:00 p.m. (Pacific Time)
                                17
                                                                                         [No hearing requested]
                                18

                                19     To:                                               The Notice Parties

                                20     Name of Applicant:                                Berman and Todderud LLP

                                21     Authorized to Provide Professional Services       Debtors in Possession PG&E Corporation and
                                       to:                                               Pacific Gas and Electric Company
                                22
                                       Date of Retention                                 February 1, 2019
                                23
                                       Period for Which Compensation and                 December 1, 2019 through December 31,
                                24     Reimbursement are Sought:                         2019

                                25     Amount of Compensation Sought as Actual,          $72,334.10 (80% of $90,417.62)
                                       Reasonable and Necessary:
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1      Amount of Expense Reimbursement Sought            $0
       as Actual, Reasonable and Necessary:
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3
             Berman and Todderud LLP (“Berman and Todderud”), attorneys for debtors PG&E
4
      Corporation and Pacific Gas and Electric Company, hereby submits this Monthly Fee Statement
5
      (“Fee Statement”) for allowance and payment of compensation for professional services rendered
6
      and for reimbursement of actual and necessary expenses incurred for the period commencing
7

8     December 1, 2019 through December 31, 2019 (the “Fee Period”). This Fee Statement is submitted

9     pursuant to the Order Pursuant to 11 U.S.C §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for
10    Authority to Establish Procedures for Interim Compensation and Reimbursement of Expenses of
11
      Professionals, entered on February 27, 2019 [Docket No. 701] (the “Interim Compensation
12
      Procedures Order”), and the Order Pursuant to 11 U.S.C. § 327(e) and Fed. R. Bankr. P. 2014(a)
13
      and 2016 for Authorizing the Retention of and Employment Berman and Todderud LLP as Special
14

15    Counsel for the Debtors Effective as of February 1, 2019, entered on July 3, 2019 [Docket No.

16    2860] (“Retention Order”).

17           Exhibit A to this Fee Statement is the name of each professional who performed services for
18    the Debtors pursuant to authorization of the Retention Order during the Fee Period and the hourly
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      rate and total fees for each professional. Exhibit B is a summary of hours during the Fee Period by
20
      project. Exhibit C contains a summary of expenses incurred during the Fee Period. Attached hereto
21
      as Exhibit D are the detailed time entries for the Fee Period.
22

23           PLEASE TAKE NOTICE that, in accordance with the Interim Compensation Procedures

24    Order, responses or objections to this Fee Statement, if any, must be filed and served on or before

25    4:00 p.m. (Pacific Time) on the 21st day (or the next business day if such day is not a business day)
26
      following the date the Monthly Fee Statement is served (the “Objection Deadline”).
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                                                   4
             PLEASE TAKE FURTHER NOTICE that upon the expiration of the Objection Deadline,
1

2     the Applicant shall file a certificate of no objection with the Court, after which the Debtors are

3     authorized and directed to pay the Applicant an amount equal to 80% of the fees and 100% of the

4     expenses requested in this Monthly Fee Statement. If an objection is properly filed, the Applicant
5
      may (i) request the Court approve the amounts subject to objection or (ii) forego payment of such
6
      amounts until the next hearing to consider interim or final fee applications, at which time the Court
7
      will adjudicate any unresolved objections.
8
      Dated: January 31, 2020.                      Respectfully submitted,
9

10                                                  BERMAN AND TODDERUD LLP

11                                                  By:       /s/ Eric Todderud
                                                              Eric Todderud
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                                                    Special Counsel for Debtors and Debtors in Possession
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                                                Notice Parties
1
      PG&E Corporation
2     c/o Pacific Gas & Electric Company
3     77 Beale Street
      San Francisco, CA 94105
4     Attn: Janet Loduca, Esq.

5     Keller & Benvenutti LLP
      650 California Street, Suite 1900 San Francisco, CA 94108
6      Attn: Tobias S. Keller, Esq., Jane Kim, Esq.
7
      Weil, Gotshal & Manges LLP
8     767 Fifth Avenue New York, NY 10153
      Attn: Stephen Karotkin, Esq. Jessica Liou, Esq. Matthew Goren, Esq.
9
      The Office of the United States Trustee for Region 17
10    450 Golden Gate Avenue, 5th Floor, Suite #05-0153
11    San Francisco, CA 94102
      Attn: James L. Snyder, Esq., Timothy Laffredi, Esq.
12
      Milbank LLP
13    55 Hudson Yards New York, NY 10001-2163
      Attn: Dennis F. Dunne, Esq., Sam A. Khalil, Esq.
14

15    Milbank LLP 2029
      Century Park East, 33rd Floor Los Angeles, CA 90067
16    Attn: Paul S. Aronzon, Esq., Gregory A. Bray, Esq., Thomas R. Kreller, Esq.

17    Baker & Hostetler LLP
      11601 Wilshire Boulevard, Suite 1400
18
      Los Angeles, CA 90025-0509
19    Attn: Eric Sagerman, Esq., Cecily Dumas, Esq.

20    Bruce A. Markell
      Fee Examiner
21    541 N. Fairbanks Ct., Ste 2200
      Chicago, IL 60611-3710
22

23    Scott H. McNutt
      324 Warren Road
24    San Mateo, California 94402
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